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AO 1'99A (Rev. 12/11) Order Setting Conditions ofRelease                                                   Page I of   3   Pages


                                      UNITED STATES DISTRICT COURT
                                                           Eastern District of Arkansas               ~.-Y.fl'&RRT
                                                                                                      -111::RN DISTRICT ARKANSAS



                                                                                                                           I   CLERK
                United States of America                                                                                       PCLERK

                              v.                                          Case No.: 4: 18CR00534-0 I DPM

                    Benny Don Taylor



                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

( 1)   The defendant must not violate any federal, state or local law while on release.

(2)    The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3)    The defendant must advise the court or the pretrial services office or supervising officer in writing before making
       any change ofresidence or telephone number.
                     '
(4)    The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence
       that the court may impose.

       The defendant must appear at Court Room BISS, Richard Sheppard Arnold United States Courthou~e, 600 West
       Capitol Avenue, Little Rock, Arkansas, before the Honorable D.P. Marshall Jr. on 11/26/2018 at 9:30 a.m ..

           If blank, defendant will be notified of next appearance.

(5)    The defendant must sign an Appearance Bond, if ordered.
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 AO 199B (Rev. 12/11) (ARED Rev. 3/27/2018) Additional Conditions ofRelease                                                                             Page ..1..._ of _3_ Pages

                                                          ADDITIONAL CONDITIONS OF RELEASE
          IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

       ) (6) The defendant is placed in the custody of:
              Person or organization
              Address (only ifabove is an organi=ation)     _R_e_da_c_te_d_._pu_r_su_a_n_t_to_F_.R_.C_r._P_.4_9_._1_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
              City and state                                                                                                  Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings. and (c) notify the court immediately
if the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                                    Signed: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                      Custodian                           Date
  ( X ) (7) The defendant must:
             (a) submit to supervision by and report for supervision to the U. S. Pretrial Services Office.
                                                                                             ---------------------------
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       (
                 teIephone number        501-604-5240
             (b) continue or actively seek employment.
             (c) continue or start an education program.
             (d) surrender any passport to:
              vr
                                                             . no later than as directed by Pretrial Service Officer


                                                            -l..L~f~p_o
                                                                .     __.__________________________
             (e) not obtain a passport or other international travel document.
           ) (t) abide by the following restrictions on personal association, residence, or travel:

                    (g) avoid all contact, directly or indirectly, with any person who is or may be.a victim or witness in the investigation or prosecution.
                    ·     including:   .    n,.l~ w,D~ t;«tfAVA«k                                                                                   ·
                    (h) get medical or psychiatric treatment:

                    (i) return to custody each ______a_t_ _ _ _o_'_cl_o_ck_aft_e_r_b_e_in_,g_.r_e_le_a_se_d_a_t_ _ _ _ _ _o_'c_lo_c_k_fi_o_r_em_p_lo_y_m_e_n_t._s_ch_o_o_l_in..,.g_._
                        or the following purposes:

          (    )     (i) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                         necessary.
              X)    (k) not possess a firearm. destructive device r other weapon.
              X)     (I) not use alcohol (         ) at all (      excessively.
              X)    (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                         medical practitioner.
               )     (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                         random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                         prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct or tamper with the efficiency and accuracy
                         of prohibited substance screening or testing.
          (    )    (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                         supervising officer.
   p,,/             (p) part~9Pate in one of the following location restriction programs and comply with its requirements as directed.
   "-                    ( "'-.Ji) Curfew. You are restricted to your residence every day ( ) from                {Q ~ ~ f, ~ (                   ) as
                                      directed by the pretrial services office or supervising officer; or                     •
                              ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education: religious services:
                                      medical, substance abuse, or mental health treatment: attorney visits; court appearances: court-ordered obligations: or other
                                      activities approved in advance by the pretrial services oftice or supervising officer: or
                              ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and

          (   Ki
               )
                                      court appearances or other activities specifically approved by the court.
                    (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                         requirements and instructions provided.
                         ( \/) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                           A;. supervising officer.
          ( X ) (r) report as soon as possible. to the pretrial services office or supervising officer, every contact with law enfi;:,rcement personnel. including
                    arrests. questioning, or traffic stops.•
          ( ,;{>    (s)

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                           Case 4:18-cr-00534-DPM
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AO 199C (Rev. 09/08) (ARED Rev3/27/20t8) Advice of Penalties                                                    Page _ _3_~ of __3__ Pages

                                              ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance ofa warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       ( 1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more '"" you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                      Acknowledgment of the Defendant

      I acknowledge that I am the defendant in this case and that I am aware of the conditions ofrelease. I promise to obey all conditions
ofrelease, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                       I
                                                   Directions to the United States Marshal

( x ) The defendant is ORDERED released after processing.
( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant has
      posted bond iuid/or complied with all other conditions for release. If still in custody, the defendant must be produced before the
      appropriate jtlClge at the time and place specified.                                                   (.



            lo        "2 r. II
Date:            I

                                                                                                           -
                                                                              Judicial Officer '.I" Signature

                                                                         Beth Deere, U.S. Magistrate Judge

                                                                           Printed name and title


                     DISTRIBUTION:    COURT         DEFENDANT      PRETRIAL SERVICE            U.S. ATTORNEY          U.S. MARSHAL
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You must allow pretrial officers to install monitoring software on any comp1
defined in 18 U.S.C. § 1030(eX1)) you use. You must pay the costs of the C<
monitoring.

To ensure complian~ with the monitoring condition, you must allow the pn
officers to conduct initial and periodic unannounced examinations of any 001
(as defined in 18 U.S.C. § 1030(eXl)) subject to computer monitoring. Thes
examinations shall be conducted to determine whether the computer contain:
prohibited data prior to installation of the monitoring software, whether the
monitoring software is functioning effectively after its installation, and whet
have been attempts to circumvent the monitoring software after its installatic
must warn any other poople who use these devices, the devices may be subje
examination pursuant to this condition.




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